 Case 01-01139-AMC      Doc 33231-2      Filed 06/04/21   Page 1 of 3




                             EXHIBIT A

R. Higgins E-Mail Correspondence to G. Smolker, dated March 16, 2021
                     Case 01-01139-AMC              Doc 33231-2         Filed 06/04/21       Page 2 of 3


Roger Higgins

From:                               Roger Higgins
Sent:                               Tuesday, March 16, 2021 8:05 AM
To:                                 'GSmolker@aol.com'
Cc:                                 'James O'Neill (jo'neill@pszjlaw.com)'
Subject:                            Smolker v Grace - Opinion & Order - Date for Sanctions Motion
Attachments:                        2021-3-16_Opinion_33216.pdf; 2021-3-16_Order_Smolker_33217.pdf; Ch-11 01-01139-
                                    AMC W.R. Grace & Co., VAN-401 Generic Notice of Hearing


Mr. Smolker,
Please find attached a copy of the opinion filed by the Bankruptcy Court regarding your claim. I have also attached a
copy of the order.
You will also be receiving normal service by mail of these filings.
Also attached is a copy of the court’s docket entry setting June 24, 2021, as the hearing date on your proposed sanctions
motion. Objections are due by June 3, 2021.
In your motion requesting that hearing date, you stated that you needed 60 days to file your motion.
Based upon yesterday’s docket entry date, that means you will be filing your motion no later than May 10, 2021.
Please confirm by reply e-mail that you will be filing your motion by that date.
Warmest Regards. R

Roger J. Higgins
THE LAW OFFICES OF ROGER HIGGINS, LLC
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Suite 136
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Roger Higgins

From:                          DEBdb_ECF_Reply@deb.uscourts.gov
Sent:                          Tuesday, March 16, 2021 7:18 AM
To:                            dummail@deb.uscourts.gov
Subject:                       Ch-11 01-01139-AMC W.R. Grace & Co., VAN-401 Generic Notice of Hearing



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                                           U.S. Bankruptcy Court

                                             District of Delaware

Notice of Electronic Filing

The following transaction was received from BJM entered on 3/16/2021 at 10:17 AM EDT and filed on
3/16/2021
Case Name:           W.R. Grace & Co., et al.
Case Number:         01-01139-AMC
Document Number: 929630

Docket Text:
Notice of Hearing on Motion for Sanctions to be held on 6/24/2021 at 12:00pm. The case judge is Ashely M.
Chan. Objections due by 6/3/2021. (related document(s)[33215]) (BJM)

The following document(s) are associated with this transaction:


01-01139-AMC Notice will be electronically mailed to:

Eric B. Abramson on behalf of Interested Party Asbestos Claimants
eabramson@serlinglaw.com

Carolina Acevedo on behalf of Interested Party Eileen McCabe
carolina.acevedo@mendes.com, anna.newsom@mendes.com

Peter M. Acton, Jr. on behalf of Creditor Town of Acton, Massachusetts
pacton@nutter.com, kjose@mwe.com

Thaddeus Adkins on behalf of Creditor State of Montana Department of Environmental Quality
Thad.Adkins@mt.gov

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